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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE MIDDLE DISTRICT OF LOUISIANA


PRESS ROBINSON, EDGAR CAGE,                      CIVIL ACTION
DOROTHY NAIRNE, EDWIN RENE                       NO. 3:22-cv-00211-SDD-SDJ
SOULE, ALICE WASHINGTON, CLEE
EARNEST LOWE, DAVANTE LEWIS,                     Chief Judge Shelly D. Dick
MARTHA DAVIS, AMBROSE SIMS,
NATIONAL ASSOCIATION FOR THE                     Magistrate Judge Scott D.
ADVANCEMENT OF COLORED PEOPLE                    Johnson
(“NAACP”) LOUISIANA STATE
CONFERENCE, AND POWER
COALITION FOR EQUITY AND
JUSTICE,

                         Plaintiffs,

      v.

KYLE ARDOIN, in his official capacity as
Secretary of State for Louisiana,

                         Defendant.

EDWARD GALMON, SR., CIARA HART,                  Consolidated with
NORRIS HENDERSON, and TRAMELLE
HOWARD,                                          CIVIL ACTION
                                                 NO. 3:22-cv-00214-SDD-SDJ
                         Plaintiffs,

      v.

R. KYLE ARDOIN, in his official capacity as
Secretary of State for Louisiana,

                         Defendant.




    BRIEF AMICUS CURIAE IN SUPPORT OF NEITHER PARTY
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                              INTEREST OF THE AMICI CURIAE
         Amici curiae Michael Mislove, Lisa J. Fauci, Robert Lipton, and Nicholas Mattei

are professors of mathematics and computer science at Louisiana State University and

Tulane University. This Court has twice granted amici leave to file briefs in this case,

both in support of neither party, to show that computational redistricting—using high-

performance computers to help draw maps that attempt to optimize multiple

redistricting criteria—could produce a map that fully remedies any violation of Section 2

of the Voting Rights Act (VRA), 52 U.S.C. § 10301, while simultaneously complying with

all other legal requirements and traditional redistricting principles (Rec. Doc. Nos. 96, 97,

210, 220). At this stage in the litigation, amici believe the Court should consider using

the map they previously offered this Court, which was created with the assistance of

computational redistricting—the “Amicus Map”—to remedy the VRA violation before

the 2024 election cycle. Amici are aware that the Court has scheduled an evidentiary

hearing for October 3 to 5 to consider a proposed remedy, and counsel for amici stand

ready to participate in that evidentiary hearing in any capacity that the Court might find

helpful. 1

                                  SUMMARY OF ARGUMENT
         Amici previously presented this Court with an “Amicus Map” that illustrates how

computational redistricting could help cure a VRA defect while ensuring that racial

considerations do not predominate and simultaneously leaving intact, to the extent

possible, the State’s plan and the legislative policy judgments that it embodies. In its



1
    No parties oppose the filing of this amicus brief, which is not in support of any party.


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June 6, 2022 preliminary-injunction Ruling and Order, this Court expressly commended

the Amicus Map’s usefulness for remedial purposes. See Robinson v. Ardoin, 605 F. Supp.

3d 759, 856 & n.441 (M.D. La. 2022).

         Since amici first presented their map to this Court (Rec. Doc. No. 97), the

Supreme Court stayed these proceedings, reaffirmed the long-standing test for VRA

Section 2 violations in Allen v. Milligan, 143 S. Ct. 1487 (2023), and then vacated the stay.

See Ardoin v. Robinson, 143 S. Ct. 2654 (2023) (dismissing writ of certiorari as

improvidently granted and vacating stay). At this point in the proceedings, this Court is

tasked with “ensur[ing] that a proposed remedial districting plan completely corrects—

rather    than   perpetuates—the       defects       that   rendered   the   original   districts

unconstitutional or unlawful.” Singleton v. Allen, No. 2:21-cv-1291-AMM, 2023 WL

5691156, at *44 (N.D. Ala. Sept. 5, 2023) (three-judge court) (internal quotations omitted).

Fundamentally, this Court must ensure that any remedial map put in place for the 2024

elections will provide Black voters with “equality of opportunity” to achieve electoral

success in two congressional districts. Id. at *50 (quoting Johnson v. De Grandy, 512 U.S.

997, 1014 n.11 (1994)).

         Now more than ever, the Amicus Map presents the Court with an excellent way

to cure the VRA violation, while mitigating concerns raised by both sides. Specifically,

the Amicus Map contains two districts—one in the New Orleans area, the other in the

Baton Rouge area—that are both likely to elect candidates preferred by Black voters

even though neither district is majority Black. Both districts, like all six districts in the

Amicus Map, are contiguous, geographically compact, respectful of political subdivisions



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such as parishes and municipalities, and respectful of communities of interest. The

Amicus Map adheres to the “one person, one vote” doctrine more closely than any

congressional plan in Louisiana history. And it is fair to all Louisianans, regardless of

party, region, or race. In short, the Amicus Map complies with the VRA while not being

excessively race conscious and while respecting the State’s legitimate policy choices. It

is therefore an excellent option to serve as a Court-ordered remedial redistricting plan.

                                        ARGUMENT
   I.      Federal Caselaw Guides How a Court Should Remedy a Congressional
           Redistricting Plan’s Voting Rights Act Violation.

        Now that this Court is in a remedial posture, tasked with designing and

implementing equitable relief, “the scope of [the] district court’s equitable powers . . . is

broad, for breadth and flexibility are inherent in equitable remedies.” Brown v. Plata,

563 U.S. 493, 538 (2011) (internal quotation marks omitted). That said, the Court “must

tailor the scope of injunctive relief to fit the nature and extent of the . . . violation

established.”   Haitian Refugee Ctr. v. Smith, 676 F.2d 1023, 1041 (5th Cir. 1982).

Following a finding of liability under Section 2 of the Voting Rights Act, the Court must

determine whether a proposed remedial map, “in combination with the [State’s] racial

facts and history,” completely corrects, or “fails to correct,” the adjudicated violation of

Section 2. Singleton, 2023 WL 5691156, at *4, *44 (citations omitted).

        The VRA’s legislative history endorses this broad, flexible approach. In the

Senate Report accompanying the 1982 amendments to Section 2, the Senate Judiciary

Committee relied on “[t]he basic principle of equity that the remedy fashioned must be

commensurate with the right that has been violated,” and explained that a remedial court


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should “exercise its traditional equitable powers to fashion . . . relief so that it completely

remedies the prior dilution of minority voting strength and fully provides equal

opportunity for minority citizens to participate and to elect candidates of their choice.” S.

REP. NO. 97-417 at 31, 97th Cong., 2d Sess. 26, reprinted in 1982 U.S. CODE CONG. & ADM.

NEWS 177, 208. That committee cited the seminal Supreme Court decision about racially

discriminatory voting laws—Louisiana v. United States, 380 U.S. 145 (1965)—in which

the Supreme Court explained that, upon finding such discrimination, federal courts have

“not merely the power but the duty to render a decree which will so far as possible

eliminate the discriminatory effects of the past as well as bar like discrimination in the

future.” Id. at 154.

       In evaluating proposed remedies for a VRA violation, a court may choose from

among the plans submitted by litigants, amici, or other interested parties, or it may draw

its own remedial map, sometimes with the help of a special master. See Nathaniel Persily,

When Judges Carve Democracies: A Primer on Court-Drawn Redistricting Plans, 73

GEO. WASH. L. REV. 1131, 1148–50 (2005). In all cases, when a federal court imposes a

remedial map to cure a VRA violation, four constraints apply. First, the remedial map

must fully cure the VRA violation in the challenged districting plan. Second, in curing

the VRA violation, the court must avoid the excessive and unjustified use of race and

racial data. Third, the remedial map must comply with all other federal and state legal

requirements. And fourth, the court must avoid making changes to the plan that are

unrelated to compliance with those first three constraints.




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       A.     Curing the VRA Violation

       Like the “illustrative” plans that Plaintiffs presented in the liability phase, a valid

remedial map must contain at least one additional district (compared to the challenged

plan) in which members of the plaintiffs’ minority group have the potential to elect a

representative of their choice. But unlike Plaintiffs’ liability-phase illustrative plan—

which must comply with the requirement of Bartlett v. Strickland, 556 U.S. 1 (2009), that

members of the plaintiffs’ minority group constitute a majority of the voting-age

population in the additional district—in a remedial plan, members of the plaintiffs’

minority group need not constitute a majority of the voting-age population in the

additional district.   Rather, the additional district must be one in which plaintiffs’

minority group has a fair opportunity to elect its preferred representative. After all, the

harm unlawfully inflicted on plaintiffs is not that they reside in a district with the “wrong”

demographic composition, but rather that they reside and vote in a district where they

will be deprived the “opportunity . . . to elect representatives of their choice,” 52 U.S.C.

§ 10301(b), as their preferred candidates will routinely lose to nonminority voters’

preferred candidates.

       The Supreme Court explained this distinction in Bartlett v. Strickland. The

plurality there held, on the one hand, that VRA plaintiffs must show that their minority

group is sufficiently large and geographically compact to constitute a literal, numerical

majority in an additional, reasonably configured district. But it further held that VRA

defendants can prevail by pointing to what the Court called “crossover” districts. In a

crossover district, minority adults, though outnumbered, can elect their preferred



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candidates with limited, but predictable, crossover support from other voters. Compare

Strickland, 556 U.S. at 12–14, 18–19, 26 (plurality op.) (requiring plaintiffs to meet the

50% threshold to satisfy the first prong of the Gingles test), with id. at 23–24 (encouraging

defendants to rely on “crossover voting patterns and . . . effective crossover districts”);

see also Cooper v. Harris, 581 U.S. 285, 305 (2017) (explaining that the VRA can “be

satisfied by crossover districts”); Baltimore Cty. Branch of the NAACP v. Baltimore

Cty., No. 21-cv-3232-LKG, 2022 WL 888419, at *1– 6 (D. Md. Mar. 25, 2022) (approving

defendant’s proposed remedial plan, with a reconfigured district in which Black voters

would not constitute a numerical majority but would have an opportunity to elect a

representative of their choice); Fusilier v. Landry, 963 F.3d 447, 456 n.7 (5th Cir. 2020)

(distinguishing district court’s remedial map from plaintiffs’ “Gingles step one” map).

       Courts continue to reaffirm “the undisputed premise that under Section Two, a

remedial district need not be majority-Black.” Singleton, 2023 WL 5691156, at *29.

Indeed, the Fifth Circuit in this very case has already recognized that crossover districts

create meaningful electoral opportunities for minority citizens: “If a minority group

can . . . elect its preferred candidates, it does not matter whether that ability accrues in a

majority-minority or a performing crossover district.” Robinson v. Ardoin, 37 F.4th 208,

227 (5th Cir. 2022); see also id. at 225 (affirming this Court’s consideration of crossover

voting “to answer the right question: whether black voters’ preferred candidates could

win the proposed district”). As explained immediately below, the availability of effective

crossover districts can make it easier for a court to remedy a VRA violation without

running afoul of the Equal Protection Clause.



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       B.       Avoiding the Excessive and Unjustified Use of Race

       Compliance with the VRA obviously requires both awareness and active

consideration of race and racial data. Indeed, as Chief Justice Roberts has recently

reaffirmed, “[t]he contention that mapmakers must be entirely ‘blind’ to race has no

footing in our § 2 case law.” Allen v. Milligan, 143 S. Ct. at 1512 (plurality op.); see id. at

1518 (Kavanaugh, J., concurring) (explaining that courts properly may “account for the

race of voters so as to prevent the cracking or packing—whether intentional or not—of

large and geographically compact minority populations”); see also, e.g., Miller v. Johnson,

515 U.S. 900, 916 (1995). But if the consideration of race in redistricting is excessive and

unjustified, it can violate the Equal Protection Clause under a line of Supreme Court

“racial gerrymandering” precedents that commenced with Shaw v. Reno, 509 U.S. 630

(1993). Redistricters—including federal district courts at the remedial phase of a voting-

rights suit—therefore must walk a fine line between paying too little attention to race

and violating the VRA and paying too much attention to race and violating the

Constitution.

       The caselaw articulating the racial-gerrymandering doctrine identifies three

potential triggers for subjecting a district to strict scrutiny. First, some Justices have

suggested, although the Court has never held, that intentionally creating a particular

number of majority-minority districts is, by itself, presumptively unconstitutional. See,

e.g., League of United Latin Am. Citizens v. Perry, 548 U.S. 399, 517 (2006) (Scalia, J.,

joined by Roberts, C.J, and Thomas & Alito, JJ., concurring in judgment in part and

dissenting in part); cf. Wisconsin Legis. v. Wisconsin Elections Comm’n, 142 S. Ct. 1245,



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1247, 1249 (2022) (per curiam).       Second, the Supreme Court has held that it is

presumptively unconstitutional for a State to draw districts to “maintain a particular

numerical minority percentage” or to meet arbitrary or “mechanical racial targets.” Ala.

Legislative Black Caucus v. Alabama, 575 U.S. 254, 267, 273–75 (2015); see Cooper, 581

U.S. Ct. at 299–301; Bethune-Hill v. Va. State Bd. of Elections, 580 U.S. 178, 190, 194–96

(2017). And third, over the last few decades, the Court has repeatedly held districts

presumptively unconstitutional if they subordinate traditional nonracial districting

principles—such as contiguity, compactness, respect for political subdivisions, and

respect for communities of interest—to racial considerations. See, e.g., Miller, 515 U.S.

at 916.

          As the Bartlett v. Strickland plurality recognized, “crossover districts” where

Black adults lack a numerical majority but nonetheless have the potential to elect

representatives of their choice may be less vulnerable to claims of racial gerrymandering.

Strickland, 556 U.S. at 23. These districts can enhance “minority voting strength” while

“diminish[ing] the significance and influence of race” and “encouraging minority and

majority voters to work together” toward common goals. Id. The Court found that these

districts “can lead to less racial isolation.” Id. Moreover, these districts (by definition)

are not the product of intentionally creating a particular number of majority-minority

districts or of drawing districts to maintain an arbitrary numerical minority percentage

or meet a mechanical racial target. Rather, crossover districts are the product of

applying traditional districting principles while considering race where necessary to




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afford all members of the electorate an equal “opportunity . . . to participate in the political

process and to elect representatives of their choice.” 52 U.S.C. § 10301(b).

       C.     Complying with Other Legal Requirements

       A remedial redistricting plan not only must cure the VRA violation while avoiding

excessive and unjustified race-consciousness, but also must comply with all other federal

and state legal requirements. The list of applicable requirements here is brief: population

equality, compliance with the VRA as to racial and ethnic groups other than the plaintiffs’,

and (although it is no longer an independently justiciable issue in federal court) the

avoidance of excessive partisanship or political skew. Consideration for these legal

mandates can be incorporated into the algorithmic instructions used in computational

redistricting. Cf. Allen v. Milligan, 143 S. Ct. at 1513 n.8 (acknowledging the potential

relevance of “algorithmic mapmaking” in VRA cases); Br. for Computational

Redistricting Experts as Amici Curiae 34–35, Allen v. Milligan (discussing the use of

legal criteria in algorithmic mapmaking), cited in 143 S. Ct. at 1513–14.

       D.     Minimizing Needless Changes

       Finally, in a remedial redistricting proceeding, a federal court should minimize

needless changes to a state legislature’s enacted plan. Principles of federalism and

judicial restraint counsel that a federal district court should not modify or “intrude upon

state policy any more than necessary” to “cure any constitutional or statutory defect.”

Upham v. Seamon, 456 U.S. 37, 41–43 (1982) (per curiam) (internal quotation marks

omitted); see Perry v. Perez, 565 U.S. 388, 393 (2012) (“[A] district court should take

guidance from the State’s recently enacted plan in drafting an interim plan.”). Tailoring


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modifications to a map to avoid needless changes is yet another task to which

computational redistricting is particularly well suited.

   II.      The Amicus Map Fully Cures the VRA Defect, While Complying with All
            Other Legal Requirements and Respecting the State’s Legitimate Policy
            Choices.

         The Amicus Map satisfies each of the four elements just outlined.

         As shown below, the Amicus Map (1) contains two Black crossover districts—one

based in New Orleans, the other in Baton Rouge—that can elect congressional candidates

preferred by Black voters and therefore fully cures the VRA violation in the Louisiana

Legislature’s 2022 congressional plan, LA. R.S. 18:1276 (“the Enacted Plan”); (2) avoids

being overly race-conscious by not intentionally creating majority-minority districts or

attempting to hit racial targets; (3) complies with all other federal and state legal

requirements; and (4) otherwise leaves intact the Enacted Plan and the legislative policy

judgments that it embodies. Specifically, the Amicus Map has the following features:

            •   The Amicus Map’s six districts—and specifically its two Black crossover

                districts—are geographically compact (see color figure below) and thus

                have excellent compactness scores.

            •   The Amicus Map splits only seven parishes and only two municipalities

                within a single parish.

            •   The Amicus Map does not split any of Louisiana’s 3,000-plus election

                precincts.

            •   The Amicus Map’s Black crossover districts do not split a single parish or

                municipality that was not already split in the Enacted Plan.


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           •   The Amicus Map’s New Orleans district contains the entire city and all

               parts of the New Orleans metropolitan area to the city’s east and south.

           •   The Amicus Map’s Baton Rouge district contains the entire city and 8½ of

               the 10 parishes in the Baton Rouge metropolitan area.

           •   The Amicus Map has a lower population deviation (0.008%) than any

               congressional plan in Louisiana history.

           •   The Amicus Map leaves the vast majority of Louisianans—more than 3

               million residents—in their current congressional district.

           •   The Amicus Map does not pair any incumbent Representatives in the same

               district.

        As the Supreme Court reiterated in Allen v. Milligan, a district court’s task is not

“to conduct a ‘beauty contest[]’ between plaintiffs’ maps and the State’s.” 143 S. Ct. at

1505. Amici, likewise, do not favor “endless ‘beauty contests.’” Singleton, 2023 WL

5691156, at *56. With that said, and without conceding the validity of any criticisms of

Plaintiffs’ illustrative or remedial plans (as set forth in the Fifth Circuit’s stay ruling and

the Defendants’ briefing), the Amicus Map differs from Plaintiffs’ plans in the following

ways:

           •   The Amicus Map does not contain any district that “stretches from

               Louisiana’s northern border down to Baton Rouge and Lafayette.”

               Robinson, 37 F.4th at 217.

           •   The Amicus Map’s Black crossover districts do not extend to “the delta

               parishes of northeast Louisiana” or “combine[] rural populations in


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        northern Louisiana with urban populations in Baton Rouge,” 180 miles

        away. Id. at 218, 221, 224; see also Rec. Doc. No. 226, at p. 9.

    •   The Amicus Map’s Baton Rouge district does not have “small tendrils that

        jut into parts of central Louisiana.” Robinson, 37 F.4th at 218.

    •   The Amicus Map does not divide Black neighborhoods from other parts of

        Baton Rouge or Lafayette, see id. at 220–21, as both cities are kept wholly

        intact.

    •   The Amicus Map does not separate LaSalle Parish from its neighboring

        “rural, farming” parishes. Rec. Doc. No. 226, at p. 10.

    •   The Amicus Map does not “divide[] communities of interest in Rapides

        Parish,” id. at 11, which is kept wholly intact.

    •   The Amicus Map does not “place a big swath of Rapides Parish in . . . [a]

        district with Lake Charles and Lafayette,” id., as each of the three has its

        own district.

    •   The Amicus Map does not separate “Alexandria and the surrounding

        areas—including Pineville, Ball, and Pollock (in Grant Parish)” or “split[]

        the cities of Alexandria and Pineville” between two districts. Id. at 11–12.

    •   The Amicus Map does not “divide representation for Monroe and

        Alexandria.” Id. at 12.

    •   The Amicus Map does not “split[] Ouachita Parish” or its cities of “Monroe

        [and] West Monroe,” nor does it separate West Monroe from “Brownsville




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              and Claiborne, [which] view themselves as ‘one community of interest.’” Id.

              (citation omitted).

          •   The Amicus Map does not “split[] Lafayette Parish, including the cities of

              Lafayette and Scott, between [two districts],” id. at 13, nor does it “cleave[]

              the northern part of Lafayette . . . from the rest of the city,” Appellants’

              Supp. Br. at 36, Robinson, 37 F.4th 208 (Doc. No. 260).

          •   The Amicus Map does not “destroy[] the community of interest of Fort

              Polk [now Fort Johnson] and its surrounding areas in Vernon Parish,”

              including the city of Leesville, nor does it place the Fort in a different

              district “from Barksdale Air Force Base.” Rec. Doc. No. 226, at p. 13–14.

          •   The Amicus Map does not “split” St. Tammany Parish, cut “Mandeville and

              Lewisburg, in half,” or put them “in a district anchored by East Baton

              Rouge.” Id. at 15.

          •   The Amicus Map’s Black crossover districts do not “span[] long distances,”

              Robinson, 37 F.4th at 221, as both districts focus on geographically compact,

              densely populated metropolitan areas.

       The Amicus Map is also visually compact—its districts do not contain “any

‘tentacles, appendages, bizarre shapes, or any other obvious irregularities that would

make it difficult to find’ them sufficiently compact.” Allen v. Milligan, 143 S. Ct. at 1504

(citation omitted). This can be seen in the color version of the map, as well as color

blowups of the New Orleans- and Baton Rouge-based districts (Districts 2 and 6,

respectively), which can be found alongside a legal description of all six districts in the



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Addendum to this brief. See Robinson, 37 F.4th at 218, 222 (assessing compactness after

“examin[ing] the shape of proposed districts” and concluding that plaintiffs had showed

that their districts were sufficiently compact).

       A matching pair of color maps showing both the Legislature’s 2022 Enacted Plan

(with its majority-Black District 2 in green) and the Amicus Map (with its Districts 2 and

6 in green and blue, respectively) can be found on the next page of the brief. 2 Tellingly,

of the 12 districts portrayed in these two maps, only one stands out as bizarrely

misshapen: the Enacted Plan’s majority-Black District 2 (shown in green in the first map),

which snakes from the Black neighborhoods of New Orleans to those of Baton Rouge.




2
 Amici have previously provided comma-delimited block-equivalency files and a set of
shapefiles for the Amicus Map to counsel for all parties in these consolidated cases so
that they can more easily analyze the map themselves. Amici would be happy to supply
the same files to the Court upon its request.


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                        The Enacted Plan




                         The Amicus Map




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      Amici offer their map as a potential remedial plan for the Court to adopt. As

discussed below, it meets all the criteria for a federal court-imposed remedial plan.


      A.     The Amicus Map Fully Cures the VRA Violation in the Enacted Plan

      The Amicus Map fully cures the Enacted Plan’s VRA violation by including two

crossover districts in which Black voters have a fair opportunity to elect their candidates

of choice—the New Orleans-based District 2 and the Baton Rouge-based District 6. The

effectiveness of both Black crossover districts is evident from the precinct-level results

of recent statewide elections, which correlate tightly with congressional-election results.

See Rec. Doc. No. 97, at 19–22.

       The following Table One shows the 19 most recent statewide elections in which

one candidate is estimated to have received at least 85 percent of the Black vote. This

list includes every Democratic candidate who received more than one-third of the

statewide vote since 2011. The columns in Table One show the month and year of the

election, with a “p” indicating a primary election; the office being filled; the Black-

preferred candidate’s surname (or surnames, for a presidential and vice-presidential

ticket), with italics indicating a Black candidate; the statewide estimated percentage

support that this candidate received from Black voters and from non-Hispanic white

voters; and a list of the congressional districts (by district number) that the candidate

carried in the Enacted Plan and in the Amicus Map. The elections are listed in order by

the candidate’s estimated level of statewide Black support, starting with President

Obama, who was preferred by more than 95 percent of all Louisiana Black voters. In 8 of

the 19 elections in Table One the candidates preferred by Black voters were white.


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                                          TABLE ONE

 Month    Office(s)        Candidate(s)      Estimated            Enacted            Amicus
 and                       Preferred by      Support              Plan               Map
 Year                      Black Voters      for Candidate(s)     Districts          Districts
                                                                  Carried by         Carried by
                                                                  Black-             Black-
                                             Black    White       Preferred          Preferred
                                             Voters   Voters      Candidate(s)       Candidate(s)

 11/12    President/VP     Obama/Biden       95       12          2                  2, 6
 12/14    U.S. Senator     Landrieu          95       17          2                  2, 6
 11/15    Governor         J.B. Edwards      95       37          2, 3, 4, 5, 6      2, 4, 5, 6
 11/19    Governor         J.B. Edwards      95       28          2                  2, 6
 11/16    President/VP     Clinton/Kaine     94       12          2                  2, 6
 12/16    U.S. Senator     Campbell          94       14          2                  2, 6
 11/19    Sec’y of State   Collins-Greenup   93       15          2                  2, 6
 11/15    Lt. Governor     Holden            93       22          2                  2, 6
 11/14p   U.S. Senator     Landrieu          92       20          2                  2, 6
 10/19p   Governor         J.B. Edwards      92       27          1, 2, 3, 4, 5, 6   2, 3, 4, 6
 11/20    President/VP     Biden/Harris      91       14          2                  2, 6
 10/15p   Sec’y of State   Tyson             91       16          2                  2
 10/19p   Treasurer        D. Edwards        91       12          2                  2
 12/18    Sec’y of State   Collins-Greenup   90       14          2                  2, 6
 10/19p   Att’y General    Jackson           90       11          2                  2
 11/17    Treasurer        D. Edwards        90       19          2                  2
 10/19p   Lt. Governor     Jones             89       10          2                  2
 10/19p   Sec’y of State   Collins-Greenup   88       12          2                  2, 6
 10/15p   Governor         J.B. Edwards      85       21          2, 4, 5, 6         2, 4, 5, 6



      Table One shows that, under the Enacted Plan, every Black-preferred candidate

carried District 2; but none of the candidates, other than Governor Edwards, carried any

of the other five districts. By contrast, under the Amicus Map, the Black-preferred

candidate would have prevailed not only in the New Orleans-based District 2 in all 19

elections but also in the Baton Rouge-based District 6 in 14 of the 19 elections, including

the 11 elections in which the candidate attracted the strongest levels of Black support. It

is telling that each of the last three Democratic presidential tickets lost statewide by



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nearly 20 points but handily carried the Amicus Map’s District 2 and District 6. In four

of the five elections in Table One in which the Black-preferred candidate failed to carry

the Amicus Map’s District 6, the candidate was severely underfunded, received less than

38 percent of the vote statewide, and thus lost in a landslide—a circumstance that would

be highly unlikely in a congressional election confined to District 6, which in this map is

a competitive district likely to attract strong, well-funded candidates.

       In any event, the mere fact that Black-preferred statewide candidates have

occasionally failed to carry District 6 does not prevent it from fully curing the VRA

violation here. “The law does not require that a remedial district guarantee Black voters’

electoral success.” Singleton, 2023 WL 5691156, at *50. As the Supreme Court has

explained, the Act’s “ultimate right … is equality of opportunity, not a guarantee of

electoral success.” Johnson v. De Grandy, 512 U.S. 997, 1014 n.11 (1994). “One may

suspect vote dilution from political famine, but one is not entitled to suspect (much less

infer) dilution from mere failure to guarantee a political feast.” Id. at 1017.

       Table One also demonstrates one of the two main reasons why the Amicus Map’s

Districts 2 and 6 are effective for Black voters even though their voting-age populations

are not majority-Black: Although white voters are cohesive in voting against Black-

preferred candidates, they are not as cohesive as Black voters are in supporting those

same candidates. On average in these contests, Black voters statewide split about 92 to

8 percent, while white voters split about 85 to 15 percent in the opposite direction.

Beyond this greater cohesion of Black voters, there is also the fact that Louisiana voters

who identify as neither Black nor white, including substantial numbers of Latino and



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Asian-American citizens, consistently vote for Black-preferred candidates. The latter

point is especially salient in the Amicus Map’s New Orleans-based District 2, where 10

percent of all registered voters identify as neither white nor Black.3

       The Supreme Court has expressly encouraged the creation of crossover districts

like the Amicus Map’s Districts 2 and 6, which foster cross-racial coalition-building. See

Strickland, 556 U.S. at 23–24. “[M]inority voters are not immune from the obligation to

pull, haul, and trade to find common political ground, the virtue of which is not to be

slighted in applying a statute meant to hasten the waning of racism in American politics.”

De Grandy, 512 U.S. at 1020.

       The dilution of minority voting strength caused by the Enacted Plan’s “packing”

Black voters into District 2 (and cracking them elsewhere) is cured by the Amicus Map,

which harnessed computational redistricting to foster equal electoral opportunity for

Black voters by performing real-time calculations to account for precinct-level returns

from recent elections as districts were generated and evaluated. See generally Amariah

Becker, Moon Duchin, Dara Gold & Sam Hirsch, Computational Redistricting and the

Voting Rights Act, 20 ELECTION L.J. 407 (2021).




3
  In November 2020, in the Amicus Map’s Baton Rouge-based District 6, Joe Biden and
Kamala Harris won the Black vote by about 92 percentage points (i.e., about 96% to 4%
among major-party voters) and won the non-Black minority vote by about 70 points, but
lost the white vote by about 79 points. In the Amicus Map’s New Orleans-based District
2, they won the Black vote by about 93 percentage points and won the non-Black minority
vote by about 61 points, but lost the white vote by about 30 points.


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       B.     The Amicus Map Is Not Overly Race Conscious

       As explained above (see supra Part I-B), the excessive and unjustified

consideration of race and racial data could possibly render a district invalid under the

Equal Protection Clause if the mapmaker (i) intentionally created a particular number of

majority-Black districts without evaluating the necessity for majority-Black districts; (ii)

drew districts to maintain a particular numerical minority percentage or to meet

arbitrary or mechanical racial targets; or (iii) allowed race to predominate over

traditional nonracial districting principles such as contiguity, compactness, respect for

political subdivisions, and respect for communities of interest. Creating a map—like the

Amicus Map—with the assistance of computational redistricting can aid in curing a VRA

violation without engaging in any of these types of excessive race-consciousness. This is

because computational redistricting uses precinct-specific election returns to evaluate

actual electoral opportunity for Black voters rather than just relying on raw demographic

data. By creating a map with the assistance of computational redistricting, amici and

their experts avoided the pitfalls associated with potential racial gerrymanders.

       First, amici and their expert team did not simply set out to create two majority-

Black districts. This is apparent from the simple fact that the number of majority-Black

districts in the Amicus Map is zero.

       Second, the Amicus Map’s New Orleans-based District 2 and Baton Rouge-based

District 6 obviously were not built to hit any arbitrary demographic threshold or target,

such as being 50 percent or 55 percent Black in voting-age population, or VAP. Table

Two presents the relevant figures:



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                                         TABLE TWO
 Metric for Black Percentage        Amicus Map District 2            Amicus Map District 6
                                    Greater New Orleans              Greater Baton Rouge
 Voting-Age Population (2020)       41.5                             42.9
 Registered Voters (2021)           42.4                             44.2
 Total Population (2020)            43.8                             45.3


       Third,    Louisiana’s traditional     neutral   districting    principles—not   race—

predominated in crafting the Amicus Map generally and Districts 2 and 6 specifically. As

discussed below, the Amicus Map fully complies with each of the six criteria the

Louisiana Legislature adopted in Joint Rule No. 21 for congressional redistricting: (1)

each district must be “composed of contiguous geography”; (2) the plan must “provide for

single-member districts”; (3) each district must “have a population as nearly equal to the

ideal district population as practicable”; (4) the plan must “be a whole plan which assigns

all of the geography of the state”; (5) “[t]o the extent practicable, each district … [must]

contain whole election precincts”; and (6) the plan must “respect the established

boundaries of parishes, municipalities, and other political subdivisions and natural

geography of this state to the extent practicable,” although “this criterion is subordinate

to and shall not be used to undermine the maintenance of communities of interest within

the same district to the extent practicable.” HCR 90, 2021 R.S. (effective June 11, 2021);

see also Major v. Treen, 574 F. Supp. 325, 330–31 (E.D. La. 1983) (three-judge court)

(listing traditional principles).




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              1. General Criteria

       The Amicus Map easily complies with the first five criteria from Joint Rule No.

21: The Map is a whole plan that assigns all of Louisiana’s geography to one of six single-

member congressional districts, each of which is composed of contiguous geography and

contains whole election precincts and has a population as nearly equal to the ideal district

population as practicable (given adherence to the whole-precinct criterion).

              2. Geographic Compactness

       Although Joint Rule No. 21 does not expressly list geographic compactness as a

criterion, it is a traditional redistricting principle in Louisiana and may be inferred from

the Joint Rule’s references to political subdivisions and communities of interest

(discussed in more detail below). See Major v. Treen, 574 F. Supp. at 330–31, 353 n.34.

And compactness is a prominent traditional redistricting principle in the Supreme

Court’s caselaw on racial gerrymandering. See, e.g., League of United Latin Am. Citizens

v. Perry, 548 U.S. at 432–33; Bush v. Vera, 517 U.S. 952, 962 (1996) (plurality op.).

       All six districts in the Amicus Map are geographically compact—and that is

certainly true for Districts 2 and 6, as demonstrated by this color map:




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       When evaluating the compactness of a remedial map, the compactness of the

Enacted Plan’s districts may serve as a useful benchmark for comparison. Table Three

reports three standard mathematical measures of district compactness for the Enacted

Plan and the Amicus Map, breaking out the districts with larger Black populations

(District 2 in both plans and District 6 in the latter plan). For each compactness measure,

the scores range from a low near zero, for a dramatically bizarre shape, to a high of one,

for a perfect circle. The Polsby-Popper measure focuses on a shape’s jaggedness, which

would penalize a district shaped like a gear; the Reock measure focuses on elongation,

penalizing a district shaped like a string bean; and the Convex Hull measure focuses on

concaveness, penalizing a district shaped like a crescent moon. Table Three shows that




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the Amicus Map’s districts are generally more compact than the Enacted Plan’s—and

this is especially true when one focuses on the districts with the greatest Black electoral

opportunity. So it is clear that race did not predominate over the traditional redistricting

principle of compactness in drawing the Amicus Map’s Districts 2 and 6.


                                        TABLE THREE

    Compactness Score       Enacted Plan:    Amicus Map:      Enacted Plan:    Amicus Map:
     (higher is better)     All Districts     All Districts    District 2      Districts 2 & 6

Average Polsby-Popper
                                0.140             0.241            0.058            0.324
  Compactness Score
   Average Reock
                                0.350             0.436            0.155            0.550
  Compactness Score
 Average Convex Hull
                                0.621             0.738            0.383            0.767
  Compactness Score


               3. Respect for Political Subdivisions

        The Amicus Map is highly respectful of political subdivisions such as Louisiana’s

64 parishes and 304 municipalities (cities, towns, and villages). Specifically, the Amicus

Map splits only 7 parishes and 6 municipalities. And 4 of the 6 split municipalities are

divided because a district line follows a parish line and the municipality thus falls into two

parishes. 4

        By contrast, the Enacted Plan splits more than twice as many parishes (15) and

more than three times as many municipalities (19). Most of those divisions—9 parish

splits and 10 municipal splits—can be attributed to just one of the Enacted Plan’s districts,




4
 The Amicus Map thus divides only two municipalities within a single parish (Hammond
in Tangipahoa Parish and Lockport in Lafourche Parish). And the Enacted Plan also
splits Hammond.


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the bizarrely misshapen majority-Black District 2, which starts in eastern New Orleans

and snakes its way to north Baton Rouge. Indeed, more political subdivisions are divided

by this one district in the Enacted Plan than by all six districts combined in the Amicus

Map.

        Furthermore, while the Enacted Plan’s majority-Black District 2 divides 9 of the

10 parishes it touches, the Amicus Map’s Districts 2 and 6 divide only 4 of the 16 parishes

they touch. There is not a single parish or municipality that is divided by the Amicus

Map’s District 2 or District 6 that was not already divided in the Enacted Plan. Thus,

race did not predominate over respect for political subdivisions in the Amicus Map’s

districts.

              4. Respect for Communities of Interest

        The Supreme Court has also noted that a racial-gerrymandering claim can fail if

districts were drawn to respect “communities defined by actual shared interests.” Miller,

515 U.S. at 916.     Often, a combination of respect for parishes (or counties) and

municipalities, respect for precincts, and geographic compactness serves as a reasonable

proxy for respecting communities of interest.

        However, it can also be helpful to understand which parishes should sensibly “go

together” in a given congressional district. Here, “metropolitan statistical areas,” or

MSAs, are helpful.    “The United States Office of Management and Budget (OMB)

delineates [MSAs] according to published standards that are applied to Census Bureau

data. The general concept … is that of a core area containing a substantial population




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nucleus, together with adjacent communities having a high degree of economic and social

integration with that core.” 5


       District 2 in the Amicus Map contains the core area of Louisiana’s largest city,

New Orleans, in its entirety, plus all parts of the New Orleans MSA that lie to the core’s

east or south, including all of Orleans, St. Bernard, and Plaquemines Parishes, and most

of Jefferson Parish. The district largely tracks area code 504. The Jefferson Parish

portion of District 2 covers the entire West Bank and the part of East Bank that abuts

New Orleans; so it includes the parish seat, Gretna, the city of Westwego, and

unincorporated places such as Marrero, Terrytown, Harvey, Estelle, and the bulk of

Metairie. District 2 thus encompasses every Jefferson Parish suburb that is linked to

New Orleans in Louisiana Supreme Court District Seven. See Allen v. Louisiana, 14

F.4th 366, 368 (5th Cir. 2021) (map). 6 The Amicus Map’s District 2 contains no territory

outside the New Orleans MSA; and more than 88 percent of the remainder of the MSA’s

population resides in District 1, mostly in St. Tammany, Livingston, and northern

Jefferson Parishes.

       District 6 in the Amicus Map is based in Louisiana’s second-largest city, Baton

Rouge, which is kept intact. District 6 contains about 8½ of the 10 parishes that constitute


5
 See U.S. CENSUS BUREAU, ABOUT [METROPOLITAN AND MICROPOLITAN], https://www.
census.gov/programs-surveys/metro-micro/about.html (last revised Nov. 22, 2021).
6
 Likewise, fully nested in the Amicus Map’s District 2 are the entire populations of
Jefferson Parish Council Districts 1 and 5; Jefferson Parish School Board Districts 1, 2, 3,
and 6; Senate Districts 5, 7, and 8; and House Districts 80, 83, 84, 85, 87, 94, and 105. See
Terrebonne Par. Branch NAACP v. Edwards, 399 F. Supp. 3d 608, 616–17 (M.D. La.
2019) (adopting remedial map that respected communities of interest by following parish
council and school-board district lines).


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the Baton Rouge MSA, including the Parishes of East Baton Rouge and West Baton

Rouge.7 More than 85 percent of District 6’s residents live in the Baton Rouge MSA.

And almost the entirety of area code 225 falls into this district.

       The Amicus Map’s other districts also follow natural communities and MSAs.

District 3 contains almost all of Louisiana’s Gulf Coast, stretching from Lafourche and

Terrebonne Parishes west to the Texas border, and including the entire Lafayette MSA

in between. District 4 takes in western Louisiana, from Lake Charles through DeRidder

and Fort Johnson (formerly Fort Polk), up to Shreveport and Bossier City (another intact

MSA). And District 5 is a heavily rural and agricultural district that also contains the

entirety of the Monroe and Alexandria MSAs.

       Overall, the Amicus Map is highly respectful of communities defined by actual

shared interests. This is no accident: The algorithm used to help create the Amicus Map

expressly considered a full hierarchy of socially meaningful geographic areas, from

precincts to municipalities to parishes to MSAs.

       C.     The Amicus Map Complies with All Other Legal Requirements

       Computational redistricting also helped ensure that the Amicus Map complies

with all other federal and state legal requirements, including the “one person, one vote”

population-equality doctrine, the prohibitions against racial and ethnic vote dilution




7
  The Baton Rouge metropolitan area’s population is too large for one congressional
district. Livingston Parish, the one Baton Rouge MSA parish wholly excluded from the
Amicus Map’s District 6, has given each of the last three Democratic presidential tickets
less than 15% of the total vote.


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(aside from Plaintiffs’ VRA claims regarding Black voters), and the constitutional

limitations on partisanship that constrain court-ordered districting maps.

              1.     Population Equality

       The Amicus Map complies with the “one person, one vote” principle embodied in

Article I, Section 2 of the U.S. Constitution. That provision does not require that

congressional districts be drawn with “[p]recise mathematical equality,” but does require

a showing that population differences between districts that could have been, but were

not, avoided “were necessary to achieve some legitimate state objective.” Karcher v.

Daggett, 462 U.S. 725, 730, 740 (1983).

       The Amicus Map has a total deviation of less than 0.008% of the population of an

ideal, or average, district—with a difference of only 61 persons between the Map’s

smallest and largest districts (776,257 residents in District 6 and 776,318 residents in

District 4, respectively). The total population deviation in the Amicus Map is thus lower

than that in the Enacted Plan (65 persons) or apparently (based on amici’s research) in

any congressional plan in the history of Louisiana.        Moreover, the Amicus Map’s

deviation is fully justified under the Louisiana Legislature’s longstanding policy of

keeping all 3,000-plus precincts fully intact when redrawing congressional lines.


              2.     Racial Fairness

       The Amicus Map does not unlawfully dilute the voting strength of any racial or

ethnic group. As explained above (see supra Part II-A), the Amicus Map accounts for

Louisiana’s highly polarized voting patterns by including two congressional districts

where Black voters can elect their preferred candidates and four districts where white



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voters can do so. None of Louisiana’s other (i.e., nonwhite, non-Black) racial or ethnic

groups, such as Latino or Asian-American citizens, is sufficiently large and

geographically compact; and as noted earlier, these groups consistently support Black-

preferred candidates. Regardless of whether one considers Black voters specifically or

all minority voters collectively, a map in which two of six districts are effective is

nondilutive, given that Louisiana’s adult citizen population is about 62 percent white and

32 percent Black. 8 Therefore, there is no racial or ethnic group that would have a viable

claim against the Amicus Map under the VRA. See De Grandy, 512 U.S. at 1006–22. And

for similar reasons, no viable claim of racial vote dilution could be lodged against the

Amicus Map under the Fourteenth or Fifteenth Amendment to the United States

Constitution, U.S. CONST. amends. XIV–XV, or under the Louisiana Constitution’s

prohibition against racially discriminatory laws, LA. CONST. art. I, § 3.

              3.     Partisan Fairness

       Although the Supreme Court has held that partisan-gerrymandering claims are

no longer justiciable in federal court, it has also concluded that extreme partisan

gerrymanders are “incompatible with democratic principles” and violate the Federal

Constitution. Rucho v. Common Cause, 139 S. Ct. 2484, 2506 (2019) (quotation marks

omitted); see id. at 2514–15 (Kagan, J., dissenting).       A court adopting a remedial

congressional redistricting plan therefore should avoid any map that is excessively

partisan. See, e.g., Carter v. Chapman, 270 A.3d 444, 470 (Pa. 2022) (adopting a remedial



8
 U.S. CENSUS BUREAU, QUICKFACTS: LOUISIANA (2021), https://www.census.gov/quick
facts/LA (last visited Sept. 12, 2023).


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congressional plan that reflected “statewide partisan preferences” (internal quotation

marks omitted)); Maestas v. Hall, 274 P.3d 66, 80 (N.M. 2012) (court-ordered plan should

“avoid … political advantage to one political party and disadvantage to the other”); Essex

v. Kobach, 874 F. Supp. 2d 1069, 1090–91 (D. Kan. 2012) (rejecting proposed maps that

“appear to be motivated in part by political considerations that do not merit consideration

by the Court”); see also Gaffney v. Cummings, 412 U.S. 735, 736, 752 (1973) (approving a

plan intended to “achieve ‘political fairness’ between the political parties”). And this is

especially true here in Louisiana, where the state constitution expressly forbids arbitrary,

capricious, and unreasonable discrimination based on “political ideas or affiliations.” LA.

CONST. art. I, § 3.

       The Amicus Map easily satisfies any reasonable standard for partisan fairness. In

a state where the last four Democratic presidential candidates all received between 38

and 41 percent of the total vote and their Republican counterparts all received between

57 and 59 percent, it is eminently reasonable for a six-district plan to contain two districts

that lean Democratic and four districts that lean Republican.

       D.     The Amicus Map Minimizes Needless Changes to the Enacted Plan

       As explained above (see supra Part I-D), when ordering a remedial redistricting

plan, a federal district court should avoid modifying or intruding on state policy except

where doing so is necessary to address a constitutional or statutory defect.

       The Amicus Map readily satisfies this standard. Though it makes adjustments to

comply with the VRA, the Amicus Map otherwise leaves untouched much of the Enacted

Plan, and the legitimate legislative policy choices undergirding it. As already noted, the



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Amicus Map is highly respectful of the traditional redistricting criteria that the

Louisiana Legislature expressly adopted in 2021, including population equality,

contiguity, parish integrity, municipal integrity, and maintenance of communities of

interest.

       Furthermore, the Amicus Map keeps the vast majority of Louisianans—more

than 3 million residents—in their current congressional district in the Enacted Plan, with

their current Representative. Not surprisingly, District 6 and its neighbor, District 1,

retain less of their prior cores than do the other districts. But even District 6 retains

more than 57 percent of its constituents. And the New Orleans-based District 2 retains

nearly two-thirds of its constituents. In the western part of the state, where the impact

of replacing one minority district with two is muted, Districts 3, 4, and 5 each keep almost

three-quarters of their constituents in the same district as under the Enacted Plan.

       Significantly, none of the Amicus Map’s districts contains the residences of more

than one U.S. Representative. So, like the Enacted Plan, the Amicus Map would avoid

pitting two sitting Members of Congress against each other in the 2024 elections.

                                      CONCLUSION
       Amici curiae offer this brief, and their Amicus Map, not in support of either party,

but rather as a public service to assist the Court. Given the need for the Court to adopt

a remedial plan in advance of the 2024 elections, and given the complexity of vindicating

minority citizens’ rights under the VRA while avoiding excessive race-consciousness and

complying with all other federal and state legal requirements, as well as respecting the

legitimate policy choices that the Louisiana Legislature embedded in the Enacted Plan,



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amici believe that their Amicus Map, generated with the assistance of computational

redistricting, can serve as the basis for this Court’s remedial order.

       Counsel for amici stand ready, should the Court so request, to participate in the

upcoming evidentiary hearing in any capacity that might be helpful to the Court.



    Dated: September 15, 2022                    Respectfully submitted,

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                             ADDENDUM

 The Amicus Map—Statewide




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 The Amicus Map’s New Orleans-Based District 2




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 The Amicus Map’s Baton Rouge-Based District 6




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       The Amicus Map’s Congressional-District Components

The Amicus Map divides the State of Louisiana into six congressional districts:


       District 1 is composed of Precincts 3, 4, 5, 8, 9, 10, 11, 12, 13, 14, 15, 16, 17, 18, 20,

21, 22, 25, 26, 27, 33, 35, 41, 72, 76, 77, and 78 of Ascension Parish; Precincts 1, 1-H, 1-K, 2,

2-H, 2-K, 3-H, 3-K, 4-H, 4-K, 5-H, 5-K, 6-H, 6-KA, 6-KB, 7, 7-H, 7-KA, 7-KB, 8-H, 8-K, 9-

H, 9-K, 10-K, 11-K, 12-K, 13-KA, 13-KB, 14-K, 15-K, 16-K, 17-K, 18-K, 19-K, 20-K, 21-K,

22-K, 23-K, 24-K, 25-K, 26-K, 27-K, 28-K, 29-K, 30-K, 31-K, 33-K, 34-K, 35-K, 51, 52, 53,

54, 55, 56, 57, 104, 105, 108, 115, 116, 117, 118, 119, 120, 121, 122, 123, 124, 125A, 125B, 126,

and 130 of Jefferson Parish; Precincts 8-1, 9-1, 9-2, 10-1, 10-2, and 10-15 of Lafourche

Parish; Livingston Parish; St. Charles Parish; Precincts 4-13, 5-1, and 5-4 of St. John the

Baptist Parish; St. Tammany Parish; Precincts 44, 70, 70A, 71, 72, 72A, 73, 74, 102, 104,

104A, 106, 106A, 108, 110, 112, 114, 116, 118, 120, 120A, 120B, 122, 122A, 122B, 124, 124A,

137, 137A, 137B, 137C, 137D, 139, 141, 141A, 143, 143A, 145, 147, 149, 149A, and 151 of

Tangipahoa Parish; and Washington Parish.

       District 2 is composed of the Precincts of Jefferson Parish that are not located in

District 1; Orleans Parish; Plaquemines Parish; and St. Bernard Parish.

       District 3 is composed of Acadia Parish; Precincts 260, 261, 262, 800, 801, 860S, and

861E of Calcasieu Parish; Cameron Parish; Iberia Parish; Jefferson Davis Parish;

Lafayette Parish; the Precincts of Lafourche Parish that are not located in District 1; St.

Martin Parish; St. Mary Parish; Terrebonne Parish; and Vermilion Parish.

       District 4 is composed of Beauregard Parish; Bienville Parish; Bossier Parish;

Caddo Parish; the Precincts of Calcasieu Parish that are not located in District 3;



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Claiborne Parish; De Soto Parish; Red River Parish; Sabine Parish; the Precincts of

Vernon Parish that are not located in District 5; and Webster Parish.

      District 5 is composed of Allen Parish; Avoyelles Parish; Caldwell Parish;

Catahoula Parish; Concordia Parish; East Carroll Parish; Evangeline Parish; Franklin

Parish; Grant Parish; Jackson Parish; LaSalle Parish; Lincoln Parish; Madison Parish;

Morehouse Parish; Natchitoches Parish; Ouachita Parish; Rapides Parish; Richland

Parish; St. Landry Parish; Tensas Parish; Union Parish; Precincts 5-1A, 6-1, 6-3, 8-2, and

8-3 of Vernon Parish; West Carroll Parish; and Winn Parish.

      District 6 is composed of the Precincts of Ascension Parish that are not located in

District 1; Assumption Parish; East Baton Rouge Parish; East Feliciana Parish; Iberville

Parish; Pointe Coupee Parish; St. Helena Parish; St. James Parish; the Precincts of St.

John the Baptist Parish that are not located in District 1; the Precincts of Tangipahoa

Parish that are not located in District 1; West Baton Rouge Parish; and West Feliciana

Parish.

      The precincts listed here are the precincts used by the Louisiana Legislature in

Act 5 of the Veto Session of 2022 (the “Enacted Plan”).




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